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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA,         )
                                  )         CRIMINAL ACTION NO.
    v.                            )          2:11cr180-MHT
                                  )              (WO)
DERIC WILSON                      )

                       OPINION AND ORDER

    Pursuant    to    Federal     Rule    of   Criminal      Procedure

12.2(c) and 18 U.S.C. § 4241, counsel for defendant Deric

Wilson has requested, without opposition, that Wilson

undergo psychiatric evaluation to assess his current

level of competence and his psychiatric condition at the

time of the offense alleged in the indictment.

    Based upon meetings with Wilson, defense counsel

represents that Wilson’s “level of comprehension and

ability to understand the consequences of proceeding to

trial or accepting a guilty plea” may be insufficient;

that Wilson lacks the “ability to provide sufficient

assistance in preparing his defense”; and wonders whether

this apparent insufficiency was present “at the time of
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the offense.”      Mot. for Psych. Eval. (Doc. No. 30) at 1-

2.   In light of these representations and the fact that

Wilson has been previously diagnosed and treated for

paranoid     schizophrenia,       the    court      has   a   “bona   fide

doubt,” United States v. Nickels, 324 F.3d 1250, 1252

(11th Cir. 2003), regarding Wilson’s mental competence.

This doubt includes the time of the offense and Wilson’s

current condition, which affects both his ability to

stand trial and to engage in plea negotiations that would

result    in   a   valid    plea,     that    is,    a    plea   that    is

voluntarily, knowingly, and intelligently made.                  See San

Pedro v. United States, 79 F.3d 1065, 1075 (11th Cir.

1996).     The court finds, therefore, that a psychiatric

examination is warranted.

                                   ***

     Accordingly, it is ORDERED as follows:

     (1) Defendant Deric Wilson’s motion for a psychiatric

evaluation (Doc. No. 30) is granted.




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    (2) Dr. Glen King of Kirkland & King Clinical &

Forensic Psychologists, 1520 Mulberry Street Montgomery,

Alabama 36106, is appointed to perform a psychological

evaluation of defendant Wilson.

    (3) Defendant Wilson is to meet with Dr. King for the

purpose of having a psychological evaluation conducted.

    (4) Counsel for defendant Wilson is to arrange the

times and dates for defendant Wilson to meet with Dr.

King.

    (5) Pursuant to 18 U.S.C. § 4247(c), Dr. King is to

conduct the necessary battery of tests to provide the

court with the requisite information concerning defendant

Wilson’s competency both now and at the time of the

alleged offense, which shall include the following:

         (a) Defendant Wilson’s personal medical history

               and present symptoms;

         (b) A       description        of      the     psychiatric,

               psychological, and medical tests that were

               employed and their results;



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         (c) Dr.       King’s        findings,          opinions,      and

               conclusions         as      to     defendant       Wilson’s

               diagnosis       and      prognosis,          and    whether

               defendant Wilson’s current condition is such

               that he is unable to understand the nature

               and consequences of the proceedings against

               him or to assist properly in his defense;

               and

         (d) Dr.       King’s        findings,          opinions,      and

               conclusions         as      to     defendant       Wilson’s

               condition      at     the        time   of   the    alleged

               criminal offense.

    (6) Dr. King is to file his report with the court by

no later than December 12, 2011.                 He is also to provide

copies to counsel for defendant Wilson and counsel for

the United States.

    (7) Funds not to exceed $ 1,000.00 are approved

pursuant to 18 U.S.C. § 3006A(e)(3) for the purpose of

engaging Dr. King to evaluate defendant Wilson.



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    (8) A hearing regarding defendant Wilson’s competency

is set for December 19, 2011, at 10:00 a.m. in Courtroom

2FMJ of the Frank M. Johnson, Jr. Federal Courthouse

Complex, One Church Street, Montgomery, Alabama 36104.

    DONE, this the 10th day of November, 2011.


                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
